                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                           CASE NO. 7:23-CV-01676-FL



ANTONIO TREY JONES, by and through his
Guardian Ad Litem, CHARLES M. BRITTAIN
III,
      Plaintiff,
                                                          NOTICE OF APPEARANCE
           v.

JAMES THORNTON, et al.,

      Defendants.



       Notice is hereby given, by and on behalf of Plaintiff of the appearance of Robert H.

Jessup, Esq., of the law firm of Howard Stallings, as counsel of record. All pleadings, notices,

and other filings should henceforth be served on the above-named counsel of record.

                             This the 14th day of November, 2024.

                                    HOWARD STALLINGS LAW FIRM

                                    By:/s/ Robert H. Jessup
                                      Robert H. Jessup (State Bar No. 42945)
                                      5410 Trinity Road, Suite 210
                                      Raleigh, North Carolina 27607
                                      Telephone: (919) 821-7700
                                      rjessup@howardstallings.com
                                      Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this day, I electronically filed the foregoing, with the Clerk of
Court using the CM/ECF system which will send notification of such filing.

                      This the 14th day of November, 2024.

                                     HOWARD STALLINGS LAW FIRM

                                     By:/s/ Robert H. Jessup
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